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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

JOHN DOE,                                          I
                                                   I       CIVIL ACTION
                           Plaintiff,              I
                                                   I
       v.                                          I
                                                   I
PURDUE UNIVERSITY, PURDUE                          I
UNIVERSITY BOARD OF TRUSTEES,                      I
MITCHELL ELIAS DANIELS, JR.,                       I
individually and as agent for Purdue               I No.
University, ALYSA CHRISTMAS                        I
ROLLOCK, individually and as agent for             I
Purdue University, KATHERINE                       I
SERMERSHEIM, individually and as                  I
agent for Purdue University, ERIN                 I
OLIVER, individually and as agent                 I
for Purdue University, JACOB                      I
AMBERGER, individually and as agent               I        JURYTRIAL
for Purdue University,                            I        DEMANDED
                                                  I
                           Defendants.            I

                                   COMPLAINT

      John Doe (a pseudonym), by his attorneys Nesenoff & Miltenberg, LLP and

Alex Mendoza Law, LLC, as and for his Complaint against Defendants,

respectfully alleges as follows:

                       THE NATURE OF THIS ACTION

      1.     This constitutional due process, Title IX reverse discrimination and

related state law suit is brought on behalf of Plaintiff John Doe, a now suspended

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student at Defendant Purdue University despite a previously unblemished

disciplinary record and a now dismissed member of Navy ROTC.            John Doe's

dream and hope had been to serve his country as a Naval officer has been

destroyed as the result of a disciplinary case based on false accusations of sexual

assault made five months after the supposed occurrences with no contemporaneous

documentation supporting them and contrary to the text messages shared by John

Doe and the complainant.

      2.    The false accusations of sexual assault were upheld by Defendant

Purdue using a Kafkaesque process that denied due process of law in violation of

constitutional due process and 42 U.S.C. § 1983: there was no hearing of any kind;

there was no cross-exa111ination; there was no sworn testimony; there was no.

access given for the respondent even to see the investigator's report, much less

comment on it; there was no providing, to respondent, the evidence that

supposedly supported the false allegations of complainant and thus no fair and

adequate ability to prepare a defense to those allegations; there was no

presumption of innocence but rather a presumption that the accusing female's story

was true; there was no reasoned consideration of evidence as required by a burden

of proof; there was a conflict of interest in decision-making on violation and

sanction by one person who is both Dean of Students and Title IX Coordinator,

who among other things can tailor decision-making in specific cases to give the


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appearance of vigorous Title IX enforcement and meet perceived reporting needs

to the U.S. Department of Education Office of Civil Rights ("OCR"); there was no
                  '
requirement for evidence to be stated in support of conclusions and thus an

effective discretion to engage in discriminatory decision-making and a prejudiced

ability for the respondent to prepare and submit an appeal.

      3.     An erroneous outcome and an unduly severe disproportionate sanction

resulting from anti-male discriminatory bias afflicting Defendant Purdue's process

occurred in this case in violation of Title IX.

                                   THE PARTIES

      4.     Plaintiff John Doe ("John Doe") is a natural person residing in the

State of Indiana. During the events described herein, John Doe was a student at

Purdue University, was a member of Navy ROTC and resided during the 2015-

2016 school year in Tarkington Hall on the Purdue University campus in West

Lafayette, Indiana.· John Doe presently lives in Upland, Indiana to attend Taylor

University; his parents reside in Valparaiso, Indiana.

      5.     Defendant Purdue University ("Defendant Purdue") is a land grant

university established by the State of Indiana and is located on a main campus in

West Lafayette, Indiana and on three regional campuses in Indiana. Defendant

Purdue has 13 colleges and schools, including the College of Engineering, the

College of Liberal Arts, the College of Sciences and the Krannert School of


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Management.      Defendant Purdue is audited by State of Indiana auditors, the

beneficiary of state authorized bonds and the recipient of state and federal grants.

      6.     Defendant Purdue University Board of Trustees ("Defendant Purdue

Board of Trustees") has ten members, and they as a Board have the responsibility

for making rules and regulations to govern the University. The selection of these

Trustees is prescribed in Indiana Code IC 21-23-3. Three of the Trustees are

selected by the Purdue Alumni Association. The remaining seven Trustees are

selected by the Governor of the State of Indiana.

      7.     Defendant Mitchell Elias Daniels, Jr. ("Defendant Daniels") is the

President of Defendant Purdue ("The Buck Stops Here" with him), and he may be

contacted at a Defendant Purdue e-mail listed on Defendant Purdue's web site.

Defendant Alysa Christmas Rollock ("Defendant Vice President Rollock") is the

Vice President of Ethics and Compliance at Defendant Purdue, and she may be

contacted at a Defendant Purdue e-mail listed on Defendant Purdue's web site.

Defendant Katherine L. Sermersheim ("Defendant Dean Sermersheim") is the

Dean of Students at Defendant Purdue, and she may be contacted at the Office of

the Dean of Students at Defendant Purdue on the West Lafayette campus.

Defendant Ms. Erin Oliver ("Defendant Oliver") is Associate Director of

Defendant Purdue's Office of Institutional Equity, and she may be contacted at the

Office of Institutional Equity at Defendant Purdue on the West Lafayette campus.


                                          [4]
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Defendant Mr. Jacob Amberger ("Defendant Amberger") is an Investigator in

Defendant Purdue's Office of Institutional Equity, and he may be contacted at the

Office of Institutional Equity at Defendant Purdue on the West Lafayette campus.

Defendant Oliver and Defendant Amberger were appointed by Defendant Dean

Sermersheim to investigate what were false accusations against John Doe.

                          JURISDICTION AND VENUE

       8.      This Court has federal and supplemental jurisdiction pursuant to 28

U.S.C. § 1331, 28 U.S.C. § 1343 and 28 U.S.C. § 1367 because: (i) the case arises

under the laws of the United States; (ii) the claims brought under Title IX of the

Educational Amendments of 1972, 20 U.S.C. § 1681 et seq., and 42 U.S.C. § 1983

are civil rights claims; and (iii) the state law claims are so closely related to the

Title IX and 42 U.S.C. § 1983 federal law claims as to form the same case or

controversy under Article III of the U.S. Constitution.

       9.      This Court has personal jurisdiction over Defendants on the grounds

that Defendants are conducting business at Defendant Purdue within the State of

Indiana.

       10.    Venue for this action properly lies in this district pursuant to 28

U.S.C. §1391 because the events or omissions giving rise to the claim occurred in

this judicial district.




                                         [5]
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             FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

A.     Background: The "April2011 Dear Colleague Letter"
       Of The Department of Education's Office of Civil Rights.

       11.     On Aprilll, 2011, the Office of Civil Rights ("OCR") ofthe U.S.

Department of Education ("DOE") sent a "Dear Colleague Letter" to colleges and

universities (hereinafter referred to as the "April 2011 Dear Colleague Letter").

The "April 2011 Dear Colleague Letter" provides a necessary set of background

facts to this action.

       12.     The "April 2011 Dear Colleague Letter" advised that, in order to

comply with Title IX, colleges and universities must have prompt procedures to

investigate and resolve complaints of sexual misconduct. Most notably, the "April

2011 Dear Colleague Letter" required schools to adopt a relatively low burden of

proof -- "more likely than not" -- in cases involving sexual misconduct, including

assault. Several colleges had been using "clear and convincing," and some, like

Stanford University, applied the criminal standard, "beyond a reasonable doubt."

The "April 2011 Dear Colleague Letter" states that schools should "minimize the

burden on the complainant," transferring alleged perpetrators, if necessary, away

from shared courses or housing. The "April 2011 Dear Colleague Letter," while

not completely ignoring due process concerns, suggested that schools should focus

more on victim advocacy. The "April 2011 Dear Colleague Letter" states that

schools should give both parties the right to appeal a decision, which amounts to
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double jeopardy for an accused student. After the "April 2011 Dear Colleague

Letter" was published, many schools changed their sexual assault and sexual

harassment policies and procedures.

      13.    The Obama Administration, through the DOE and OCR, has treated

the 2011 Dear Colleague Letter as binding on regulated parties for all practical

purposes and thus has pressured colleges and universities to aggressively pursue

investigations of sexual assaults on campuses. Catherine Lhamon, Assistant

Secretary of the Department of Education ("DOE") in charge its Office of Civil

Rights ("OCR"), has delivered what has been treated as marching orders by

colleges and universities.

             (a)   In February 2014, Assistant Secretary Lhamon told college

officials attending a conference at the University of Virginia that schools need to

make "radical" change. According to the Chronicle of Higher Education, college

presidents sid afterward that there were "crisp marching orders from Washington."

"Colleges Are Reminded of Federal Eye on Handling of Sexual-Assault Cases,"

Chronicle of Higher Education, February 11, 2014.

             (b) In June 2014, Assistant Secretary Lhamon testified at a Senate

Hearing in that "some schools are still failing their students by responding

inadequately to sexual assaults on campus. For those schools, my office and this

Administration have made it clear that the time for delay is over." Assistant


                                        [7]
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Secretary Lhamon stated at the Senate Hearing in June 2014 that "we do" expect

institutions to comply with the 2011 Dear Colleague Letter. Assistant Secretary

Lhamon told the Senate Committee, "This Administration is committed to using all

its tools to ensure that all schools comply with Title IX ... " She further told the

Committee: If OCR cannot secure voluntary compliance from the recipient, OCR

may initiate an administrative action to terminate and/or refuse to grant federal

funds or refer the case to the DOJ to file a lawsuit against the school. Assistant

Secretary Lhamon additionally stood behind the "April 2011 Dear Colleague

Letter."

           (c) In July 2014, Assistant Secretary Lhamon, speaking at a conference

on campus sexual assault held at Dartmouth College, stated that she was prepared

to cut off federal funding to schools that violate Title IX and that she would strip

federal funding from any college found to be non-compliant with the requirements

of the Dear Colleague Letter. "Do not think it's an empty threat," Assistant

Secretary Lhamon warned. She went on to describe that enforcement mechanism

as part of a set of "very, very effective tools," adding "If a school refuses to

comply with Title IX in any respect, I will enforce." Assistant Secretary Lhamon

was quoted: "It's not surprising to me that we haven't gone to the last step .... It

means that so far the process has been working." Meredith Clark, "Official to

colleges: Fix sexual assault or lose funding," July 15, 2014 (available at:


                                         [8]
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http://www .msnbc.com/msnbc/campus-sexual-assaultconference-dartmouth-

college#51832).

            (d) Assistant Secretary Lhamon was quoted in the Los Angeles Times

stating, "We don't treat rape and sexual assault as seriously as we should, ...

[There is] a need to push the country forward." Savage and Timothy M. Phelps,

"How a little-known education office has forced far-reaching changes to campus

sex assault investigations," Los Angeles Times, August 17, 2015.

      14.   To support making the "April 2011 Dear Colleague Letter" binding,

the OCR has hired hundreds of more investigators for Title IX enforcement. The

Federal Government is investigating at least 129 schools for possible Title IX

violations, including notable schools such as UC Berkeley, Stanford, Harvard,

Brown University, Columbia University, Cornell University, Dartmouth College,

Johns Hopkins University, the University of Chicago and many top state

universities. The Department of Education has negotiated settlements with many

schools, including Ohio State University.

      15.   Colleges and universities, including Defendant Purdue, are fearful of

and concerned about being investigated or sanctioned by the DOE and/or of

potential Title lawsuits by the U.S. Department of Justice ("DOJ''). The White

House issued a report entitled "Not Alone" in April 2014, which included a

warning that if the OCR finds that a Title IX violation, the "school risks losing


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federal funds" and that the DOJ shares authority with OCR for enforcing Title IX,

and may initiate an investigation or compliance review of schools, if a voluntary

resolution cannot be reached, the DOJ may initiate litigation. In July 2016, Vice

President Biden suggested that schools that do not comply with administration

guidelines could be stripped of federal funding. "Obama, Biden Won't Visit

Universities That Fall Short In Addressing Sexual Assault," Buffington Post, July

4, 2016 ("The vice president said he'd like to take away federal funding from those

universities.")

       16.   To revoke federal funds -- the ultimate penalty -- is a powerful tool

because institutions receive billions of dollars a year from the federal government.

Anne Neal of the American Council of Trustees and Alumni was quoted as

follows: "There is a certain hysteria in the air on this topic, ... It's really a surreal

situation, I think." She explained that "schools are running so scared of violating

the civil rights of alleged victims that they end up violating the due process rights

of defendants instead." "How Campus Sexual Assaults Came To Command New

Attention," NPR, August 12, 2014.

      17.    The DOE and OCR have created a significant amount of pressure on

colleges and universities to treat all those accused of sexual misconduct with a

presumption of guilt. The Chronicle of Higher Education noted that "Colleges face

increasing pressure from survivors and the federal government to improve the


                                          [10]
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campus climate." "Presumed Guilty: College men accused of rape say the scales

are tipped against them," Chronicle of Higher Education, September 1, 2014. In

the same article, the Chronicle noted that different standards were applied to men

and women: "Under current interpretations of colleges' legal responsibilities, if a

female student alleges sexual assault by a male student after heavy drinking, he

may be suspended or expelled, even if she appeared to be a willing participant and

never said no. That is because in heterosexual cases, colleges typically see the male

student as the one physically able to initiate sex, and therefore responsible for

gaining the woman's consent." "Presumed Guilty: College men accused of rape

say the scales are tipped against them," Chronicle of Higher Education, September

1, 2014. Robert Dana, Dean of Students at the University of Maine, told NPR that

some rush to judgment is inevitable. "I expect that that can't help but be true," he

says. "Colleges and universities are getting very jittery about it." "Some Accused

Of Sexual Assault On Campus Say System Works Against Them," NPR,

September 3, 2014. g.

      18.    In response to pressure from OCR, DOJ, and the White House,

educational institutions, like Defendant Purdue, have limited procedural

protections afforded to male students, like John Doe, in sexual misconduct cases.




                                        [11]
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B.    Fall Sentester 2015 To January 2016:
      John Doe-Jane Doe's Dating Relationship.

      19.    Starting in the 2015 Fall semester and continuing into January 2016,

John Doe and Jane Doe had a dating relationship that included their having, with

mutual full consent, sexual intercourse 15 to 20 times over a three-month period

from October to December 2015. On December 13, 2015, Jane Doe attempted

suicide in front of John Doe, after which all sexual activity ended. In January

2016, John Doe reported Jane Doe's suicide attempt to two Purdue Resident

Assistants and a Scholarship Advisor. In mid to late January 2016, Jane Doe began

to distance herself from John Doe and their dating relationship ended. From

November 2015 to March 2016, Jane Doe made no reports to the university or to

the police about any alleged sexual assault by John Doe.

C.    April1-10, 2016: Events At Defendant Purdue
      Concerning Reporting Of Sexual Assault.

      20.   During the first ten days of April 2016, there were five reports of

alleged sexual assault at Purdue, including the complaint that was made at that

time by Jane Doe against John Doe. Nationally, April is Sexual Assault Awareness

Month; and during April 2016, Defendant Purdue hosted more than a dozen events

to advocate the reporting of sexual assaults. Many of these events were sponsored

by the Center for Advocacy, Response and Education ("CARE") at Purdue. CARE

promoted many of these events on their Facebook page. Among the posts that


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 CARE has shared on its Facebook page was an article dated June 21, 2016

 from The Washington Post, "Alcohol isn't the cause of campus sexual assault. Men

 are." Monica Soto Bloom was the Title IX Coordinator and Director of CARE.

 D.    Aprilll, 2016: John Doe Notified Of Jane Doe's Allegations,
       John Doe's Suspension From Navy ROTC.

        21.   On April 11, 2016, John Doe received a letter dated that day from

 Defendant Katherine L. Sermersheim, Dean of Students at Defendant Purdue,

 notifying John Doe that Defendant Purdue has been made aware of allegations,

 including sexual allegations, regarding John Doe's conduct toward another

 undergraduate student -- referred to herein as "Jane Doe" -- that if substantiated,

 might constitute a violation or violations of Defendant Purdue's Anti-Harassment

 Policy (IlL Ch. 1). Defendant Dean Semersheim's Aprilll, 2016letter also stated

 that the allegations included John Doe's digital penetration of Jane Doe while she

 was sleeping without her consent and that a more detailed description of the

. allegations accompanied the letter.

       22.    Defendant Dean Semersheim's April 11, 2016 letter stated further that

 Defendant Purdue had elected to investigate the allegations in absence of a formal

 complaint and that Defendant Ms. Erin Oliver, Associate Director of Defendant

 Purdue's Office of Institutional Equity, and Defendant Mr. Jacob Amberger,

 Investigator in Defendant Purdue's Office of Institutional Equity, were appointed

to investigate the matter. Defendant Dean Semersheim' s April 11, 2016 letter
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directed John Doe to give a written response within ten calendar days of the date of

Defendant Dean Semersheim's April 11, 2016 letter to the allegations that John

Doe's conduct had violated Defendant Purdue's Anti-Harassment Policy and to

refrain from discussing this matter or having any contact with Jane Doe.

      23.     Defendant Dean Semersheim's April 11, 2016 letter included a two-

page document entitled "Information for Student Respondents."

      24.    The "Information for Student Respondents" document stated that:

             (i) the Investigator would be neutral;

             (ii) a support person could be brought by Respondent to any meeting

with the Investigator;

             (iii) a Respondent would be told enough information about the

allegations to enable him to respond;

             (iv) the privacy of both parties would be respected;

             (v) the Investigator would first interview the complaining party and

once the Investigator understands the allegations, the Respondent would be asked

questions;

             (vi) the Interviewer would then interview other witnesses and review

documentation deemed relevant;

             (vii) the Investigator would prepare a report that would be shared with

the Dean of Students but not with the parties or the witnesses;


                                         [14]
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             (viii) the Investigator's report would make findings and recommend

whether a violation of Defendant Purdue's Anti-Harassment Policy had occurred

and what sanction was appropriate;

             (ix) the Dean of Students would chair a meeting of a three-person

panel of the Advisory Committee on Equity;

             (x) each party would be given the opportunity separately to meet with

the panel meeting in order to give the decision-maker (the Dean of Students) and

the panel members the opportunity to meet with the parties and the Investigator

after reviewing the Investigator's report;

             (xi) the panel members would make a recommendation to the Dean of

Students but the determination would be left to the discretion of the Dean of

Students; and

             (xii) if the Dean of Students determines there has been a violation of

Defendant Purdue's Anti-Harassment Policy, the Dean of Students would impose

sanctions.

      25.    Accompanying Defendant Dean Semersheim's April 11, 2016 letter

was a one half-page document entitled "Notice of Allegations."

      26.    The Notice of Allegations stated that:




                                         [15]
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             (i) Jane Doe and John Doe were in a dating relationship during the

Fall 2015 semester and that in November 2015, Jane Doe stayed the night in John

Doe's room in Tarkington Hall;

            (ii) Jane Doe woke up to John Doe's groping her while she was fully

clothed and said to John Doe that this was not OK;

            (iii) John Doe then told Jane Doe that during another night in

November 2015, while they were staying the night in Jane Doe's room, John Doe

had penetrated her digitally while she was sleeping:

            (iv) Jane Doe was not aware of the incident in November 2015 while

she was sleeping in her room, had not and did not consent to such sexual contact,

and was upset when she was told about it;

            (v) John Doe expressed feeling bad about the first time, but

nevertheless had sexual contact with her the second time when she was asleep;

            (vi) Jane Doe became very upset and left John Doe's room;

            (vii) John Doe also went through Jane Doe's underwear without her

permission and chased her down a hallway joking about tasering her;

            (viii) after Jane Doe broke up with John Doe, he would still go to Jane

Doe's room unannounced and without an escort; and

            (ix) John Doe displayed little control over his temper in front of Jane

Doe.


                                        [16]
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      27.    While John Doe and Jane Doe did have a relationship in the Fall2015

semester, the rest of what was contained in the "Notice of Allegations" about

purported events occurring in November 2015 was false. Quite differently, John

Doe and Jane Doe had a fully consensual sexual relationship that included having

sexual intercourse 15 to 20 times in a three-month period of October to December

2015 before the relationship ended. The November 2015 alleged incidents as

purportedly described in the Notice of Allegations were not documented and in

fact did not happen.

      28.    As soon as Defendant Dean Semersheim's April 11, 2016 letter was

issued to John Doe, he was not allowed to participate in Navy ROTC, not allowed

in the ROTC armory unless to attend a class or to meet with a Naval superior, not

allowed in universi~y buildings in which Jane Doe had classes and not allowed in

the university dining hall most used by John Doe and Jane Doe.

E.    Apri120, 2016: John Doe's Written Response.

      29.    Within ten calendar days of Defendant Dean Semersheim's April 11,

2016 letter, John Doe submitted a written response to the allegations.

      30.   As for Jane Doe's allegations, John Doe stated that:

             (i) he and Jane Doe were in a dating relationship from the Fall 2015

semester to the start of the Spring 2016 semester and were both in Navy ROTC;

            (ii) Jane Doe's accusations against him were false and without merit;


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             (iii) it was not true that, as claimed by Jane Doe, in November 2015

she had stayed in John Doe's room and woke up when John Doe was groping her;

             (iv) what happened was that in mid-December 2015, after Jane Doe

had attempted to commit suicide, Jane Doe stayed the night in John Doe's room,

slept on a futon with John Doe on the floor and John Doe's roommate on his bed

above the futon, woke up when John Doe touched her knee, immediately became.

erratic and angry with John Doe and left the room;

             (v) it was not true that, as claimed by Jane Doe, in November 2015

John Doe digitally penetrated her while she was sleeping;

             (vi) it was not true that, as claimed by Jane Doe, Jane Doe became

upset when John Doe told her about the alleged sexual contact;

             (vii) John Doe never had sexual contact with Jane Doe while she was

sleeping;

            (viii) instead, Jane Doe engaged in behavior inconsistent with having

been sexually assaulted, texting John Doe over the Christmas holidays, including

texting and talking with John Doe wishing him a Happy Christmas Eve, sending a

package of homemade Christmas cookies to John Doe's family and inviting John

Doe to her room at the start of the Spring 2016 semester;




                                        [18]
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             (ix) John Doe never went through Jane Doe's underwear without her

permission but rather at times did laundry for Jane Doe, for which she was

grateful;

             (x) John Doe does not own a taser but does own a stun baton, yet

never threatened Jane Doe with it;

            (xi) Jane Doe never formally broke up with John Doe, but the two saw

each other less and less at the start of the Spring 2016 semester, as Jane Doe was

distancing herself from John Doe, a choice he respected; and

            (xii) it was only after John Doe returned an item to Jane Doe in the

Spring 2016 semester did Jane Doe say anything about John Doe not going to her

room, after which he didn't.

      31.   John Doe also provided additional information to show he had been

falsely accused by Jane Doe:

            (i) John Doe and Jane Doe had a sexual relationship from October to

December 2015, but all sexual activity ceased after Jane Doe attempted suicide on

December 13, 2015;

            (ii) Jane Doe told John Doe that she had been raped in high school in

Colorado and had attempted suicide twice while in high school;

            (iii) Jane Doe had frequently displayed a temper, which she tried to

project on to John Doe as his problem;


                                         [19]
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              (iv) Jane Doe told John Doe that she contemplated running away from

home and not returning to Purdue;

              (v) on the night in December 2015 of the suicide attempt, Jane Doe

was extremely erratic, had destroyed her room by throwing objects everywhere,

was crying and talking about how much she hated life and felt hopeless and was

questioning whether she wanted to be in the Navy and at Purdue at all;

              (vi) the suicide attempt took place on the top of the parking garage by

the armory, which John Doe described in detail involving a ledge from which if

Jane Doe fell or jumped it would likely be fatal;

              (vii) John Doe reported Jane Doe's suicide attempt to two Purdue

Resident Advisors and a Scholarship Advisor, who filed reports with the

University;

              (viii) John Doe took a suicide prevention course on February ·16,

2016;and

              (ix) John Doe and Jane Doe continued to date in the month of January

2016, which included frequent texting and calling over the Winter Break, but

thereafter, Jane Doe distanced herself from John Doe and started dating a Navy

ROTC upperclassman shortly thereafter.




                                         [20]
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F.    April28-May 26, 2016: "Investigation"; John Doe
      On Interim Leave of Absence From Navy ROTC.

      32.    On April 28, 2016, John Doe met with the Defendant Investigators

Erin Oliver and Jacob Amberger in the presence of Steven Knecht, an attorney

who acted as John Doe's supporter during the meeting. To the Investigators, John

Doe steadfastly denied sexually assaulting Jane Doe in any way and provided texts

of his communications with Jane Doe that showed nothing to indicate that a sexual

assault had taken place, as. the texts were basically inconsistent with a sexual

assault having occurred. John Doe explained a few texts to establish that no texts

supported the claim of sexual assault and further provided the Investigators with a

list of over 30 names to substantiate the credibility of his character and integrity,

which was important because Jane Doe attacked John Doe's character and integrity

in her statements to Defendant Purdue. The meeting with the Investigators

appeared to John Doe and Steven Knecht to go very well, but it was the one and

only meeting that John Doe had with the Investigators Defendant Oliver and

Defendant Amberger and there were no further communications that John Doe had

with the Investigators Defendant Oliver and Defendant Amberger.

      33.    In the month following the April 28, 2016 meeting with John Doe, the

Defendant Investigators prepared a Report and sent it to Defendant Dean of

Students Sermersheim. In accordance with Defendant Purdue's Disciplinary

Process Procedures in effect at the time, John Doe was not given an opportunity by
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the Defendant Investigators or the three-person panel of the Advisory Committee

on Equity to review the Investigator's Report then or any time during the process;

and while Defendant Purdue's procedures in effect at the time were followed, John

Doe's ability to defend himself was severely and unfairly prejudiced.

      34.    On May 20, 2016, John Doe signed a formal acknowledgment of

being placed on interim leave of absence from Navy ROTC; and on May 24, 2016,

John Doe signed an authorization to release of information pertaining to the case to

the Department of Naval Sciences at Defendant Purdue. Since Jane Doe was also

in Navy ROTC and with the commencement of the investigation, John Doe was to

have no communication with Jane Doe, Captain Hutton (the captain in charge of

the battalion) restricted John Doe from communicating at all with his fellow

midshipmen about the case, allowing him to say to them only "I am on interim

leave of absence pending a University investigation." Since the vast majority of

John Doe's friends were within the battalion, John Doe's communications with

them were made unpleasantly uneasy.

      35.   On May 26, 2016, Defendant Dean of Students Sermersheim sent the

Investigator's Report to the panel members of the three-person panel of the

Advisory Committee on Equity. The investigators had not allowed John Doe to

verify that the summary by the investigators of his witness interview was accurate,

and John Doe was never provided with the investigation report to state whether


                                        [22]
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information had been excluded. Among other things, although Defendant Purdue

had a documented report of Jane Doe's suicide attempt, the investigation report

that would be relied upon by the Advisory Committee on Equity Hearing panel and

that informed Defendant Dean Sermersheim's ultimate determination failed to

include John Doe's testimony witnessing Jane Doe's suicide attempt.

G.     June 6, 2016: No Hearing, Just A Meeting With Three-Person Panel of
       the Advisory Committee on Equity and Defendant Dean Sermersheim.

       36.   On May 31, 2016, Defendant Dean Sermersheim sent a letter of that

date to John Doe advising him that he was to attend a meeting with the three-

person panel of the Advisory Committee on Equity on Monday, June 6, 2016, from

2:00PM to 2:30PM. Defendant Dean Sermersheim's May 31, 2016 letter further

advised John Doe that the panel members had reviewed the complaint, the written

responses and the Investigator's Report and that the purpose of the meeting was

not to conduct another investigation but to listen to the parties who could provide

clarification of the written materials.

      37.    On June 6, 2016, Jan,e Doe would not appear in person before the

Advisory Committee on Equity and Defendant Dean Sermersheim; in fact, at no

time did Jane Doe did appear in person before the Advisory Committee on Equity

and Defendant Dean Sermersheim. Instead, Jane Doe submitted a written statement

dated June 5, 2016. Notably, Jane Doe's June 5, 2016 written statement was not

written by Jane Doe; rather, it was a letter written by Monica Soto Bloom, Title IX
                                          [23]
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Coordinator and Director of CARE. Ms. Bloom wrote the letter after talking with

Jane Doe. It was Monica Soto Bloom on behalf of Jane Doe who submitted the

response to the panel. Thus, the three-person panel of the Advisory Committee on

Equity and Defendant Dean Sermersheim never met or heard any direct testimony

from Jane Doe, nor did the three-person panel and Defendant Dean Sermersheim

have the opportunity to ask any questions of Jane Doe. In Jane Doe's June 5, 2016

written statement, she specifically requested only that John Doe be removed from

the NROTC program. Jane Doe did not request a suspension or an expulsion of

John Doe, nor any type of separation from the university or restrictions to his

presence on campus as a student. Jane Doe's written statement indicated that she

did not have safety concerns about John Doe's status as a student on the campus at

Purdue; she only wanted John Doe removed from the group of students who

belonged to the NROTC program, a group which included Jane Doe and her new

boyfriend.

      38. On June 6, 2016, before the meeting with the three-person panel of the

Advisory Committee on Equity, John Doe met with a representative of Navy

ROTC, who briefly allowed John Doe to see a redacted version of the

Investigator's Report that the Purdue Navy ROTC had received. John Doe had

five minutes to review quickly the redacted Investigator's Report and saw that it

falsely stated John Doe had confessed to the allegations in Jane Doe's complaint.


                                        [24]
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      39.    On June 6, 2016, John Doe along with his supporter Steven Knecht

met with the three-person panel of the Advisory Committee on Equity and

Defendant Dean Sermersheim. The meeting did not involve any sworn testimony,

was not a hearing and was not recorded. There never was a hearing in the case of

any kind, much less a hearing when, among other things, sworn testimony would

be given, cross-examination questions could be posed to Jane Doe about her

allegations and documentation could be presented chronologically.

      40.    John Doe's June 6, 2016 meeting with the three-person panel of the

Advisory Committee on Equity and Defendant Dean Sermersheim involved just

unrecorded discussion about the written materials which lasted for no more than a

half-hour. From that discussion, two of the three members of the panel stated that

they had notread the Investigator's Report beforehand and only read the report at

the meeting while John Doe waited for them to come up with questions. The one

panel member who appeared to have read the Investigator's Report before the

meeting, who was an older person, asked accusatory questions assuming John

Doe's guilt, and an· the panel members acted with hostility toward John Doe. John

Doe reiterated at the meeting what he had stated in his written response-- that the

accusations made by Jane Doe against him in the Notice of Allegations were false

and were not substantiated by any documentation and the texts that John Doe had

provided were basically inconsistent with any sexual assault having taken place.


                                        [25]
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During the meeting, John Doe John Doe explained a few texts to establish that no

texts supported the claim of sexual assault, but could not address what was in the

Investigator's Report because he had not been provided a copy to review for the

meeting (or ever) and was not able otherwise to address any evidence that

Defendant Purdue had to support the allegations against John Doe. From Steven

Knecht's perspective, John Doe did as well as he could under the circumstances of

a stressful encounter in which John Doe was attempting to provide substantive

answers to accusatory questions. After the meeting, both John Doe and Steven

Knecht felt uneasy because the one older panel member who posed accusatory

questions in a hostile manner did so without apparent reason and did not appear to

be 'listening to John Doe's answers and because the other two panel members were

unprepared.

      41. Defendant Purdue, in appointing a three-member panel of the Advisory

Committee on Equity, displayed a certain faith and trust in the members of the

panel to perform their responsibilities conscientiously. In John Doe's case, that it

.was acceptable that two of the three-member panel were not prepared for a meeting

they must know is important to the final Determination in a case regarding a

student's future in their school and, in this case, future career, exhibited the

unfairness of Defendant Purdue's sexual misconduct procedures.




                                        [26]
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H.    June 14, 2016: Dean Sermershein1's Determination and Sanctions.

      42.      On June 14, 2016, Defendant Dean of Students Sermersheim sent a

letter of that date to John Doe advising him that, after considering the information

provided by John Doe, Jane Doe, the University Investigators and consulting with

the three-member panel from the Advisory Committee on June 6, 2016, "I [Dean

Sermershein1] have made the determination that a preponderance of the

evidence does support a finding that your [John Doe's] conduct violated the

Anti-Harassment Policy." (Bold in the original.) This determination was made

without a hearing on the accusations, much less a hearing where sworn testimony

was   taken,     cross-examination   afforded   and    documentation      considered

chronologically. Only an anti-male discriminatory bias presuming the female's

story to be true can explain Dean Sermersheim's June 14, 2016letter.

      43.      Dean Sermersheim's June 14, 2016 letter went on to state that

Defendant Purdue does not tolerate harassment of any person in the workplace or

educational environment and ordered the following sanctions against John Doe:

               (1) a suspension from Defendant Purdue commencing June 13, 2016

for one full academic year, which was a reflection of how detrimental John Doe's

alleged conduct was to the university and which meant that John Doe was

ineligible to register for any academic programs under the sponsorship of

Defendant Purdue;


                                        [27]
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            (2) John Doe was to continue to have no contact with Jane Doe until

she completes her current academic program;

            (3) as a condition of re-entry, John Doe would be required to complete

a 90-minute bystander intervention training or equivalent program offered by the

Vice President for Ethics and Compliance or Center for Advocacy, Response, and

Education ("CARE"); and

            (4) as a condition of re-entry, John Doe would be required to meet

with Chris Greggila, Assistant Director of CARE during the first semester of

return. Dean Sermersheim's June 14, 2016 letter also reminded John Doe that

Defendant Purdue prohibits any overt or covert act of reprisal, discrimination,

intimidation or harassment against an individual complaining of harassment or

enforcing Defendant Purdue's Anti-Harassment Policy. Included with Dean

Sermersheim's June 14, 2016 letter was a document entitled "Re-Entry for Purdue

University Students Separated from the University" providing re-entry instructions.

The sanction was disproportionate, going beyond wat Jane Doe had requested,

which can only be explained by an anti-male discriminatory bias.

      44.   Dean Sermersheim's June 14, 2016 letter finally advised John Doe

that he could appeal her determination to the Vice President for Ethics and

Compliance, Defendant Alysa Christmas Rollock, that the appeal must be in

writing and filed within ten days of the issuance of the notification of the


                                        [28]
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determination with all supporting materials and that the appeal in this case must be

received by Defendant Vice President Rollock by Friday, June 24, 2016 by e-mail

or by hand delivery.

I.    June 22, 2016: John Doe's First Appeal.

      45.    On June 22, 2016, John Doe timely submitted an appeal of that date to

Defendant Vice President Rollock. John Doe stated in his June 22, 2016 appeal

that Jane Doe's allegations of sexual assault were false, that he never penetrated

Jane Doe while she was sleeping without her consent, digitally or otherwise, that

determination that he did so was incorrect and false and contrary to the facts and

that he was being suspended for something that John Doe did not do and that did

not occur.

      46.    John Doe's June 22, 2016 appeal also stated that a suspension would

cause significant harm, including the loss of his scholarship and participation in

NROTC. John Doe's June 22, 2016 appeal noted the great emotional toll that the

process had taken on him causing great depression and anxiety, the concerns about

whether the process would be fair all the while knowing that Jane Doe's

allegations were false and the disruptions of all the friendships he had developed

given that he could not talk to friends in Navy ROTC about what really had

happened.




                                        [29]
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      47. John Doe's June 22, 2016 appeal further stated that his "rights to due

process of law have been violated." In support of this position, John Doe cited the

points that: he "was never provided with the evidence that was supposed to support

this allegation which prevented [him] from adequately preparing a defense to the

false accusation"; that he had "also not been provided the evidence relied upon in

making the finding against [him] in order to prepare and submit a proper appeal";

that at the June 6, 2016 meeting with the three-person panel of the Advisory

Committee on Equity, two panel members by their own admission were not

prepared at the meeting; that he had responded to everything that was asked of

him, including providing ample documentation of his relationship with Jane Doe;

that he had received a summary notification providing no basis for the

determination.

J.    June 28, 2016: Defendant Vice President Rollock's First Appeal
      Decision.

      48.   On or about June 28, 2016, Defendant Vice President Rollock sent a

letter of that date to John Doe stating that she had reviewed John Doe's appeal,

Defendant Dean Sermersheim's letters to John Doe and Jane Doe's letter dated

June 14, 2016.

      49.   According to Defendant Vice President Rollock's June 28, 2016

letter, because Defendant Dean Sermersheim had not included her reasoning in

reaching her determination that found John Doe in violation of Defendant Purdue's
                                       [30]
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Anti-Harassment Policy, Defendant Vice President Rollock was not able to issue a

decision on John Doe's appeal and was directing Defendant Dean Sermersheim, by

June 30,2016, to revise her June 14, 2016letters to include the factual basis for her

determination and the sanctions imposed. Defendant Vice President Rollock added

that in light of what Defendant Dean Sermersheim issued in a revised

determination, John Doe could supplement his appeal and Jane Doe could appeal

by Sunday, July 10, 2016.

K.    June 29,2016: Defendant Dean Sermersheim's
      Re-Issued Determination and Sanctions.

      50.      The very next day after Defendant Vice President Rollock's first

appeal decision remanding the matter back to Defendant Dean Sermersheim, on

June 29, 2016, Defendant Dean Sermersheim sent a letter to John Doe basically

repeating her June 14, 2016 letter, only adding the following:

      Specifically, a preponderance of the evidence supports that:

            1. [Jane Doe] had fallen asleep on a futon with you on the floor
               beside her. She woke up and found that you inappropriately
               touched her over her clothing and without her consent by
               placing your hand above her knee, between her legs, and moved
               it up to her "crotch" areas; and
            2. On another occasion, while she was sleeping and without her
               consent, you inappropriately touched [Jane Doe] by digitally
               penetrating her vagina.

      The conduct described in the numbered paragraphs above constitutes
      "Sexual Violence" under the University's policy on Anti-Harassment.
      Additionally, I find by a preponderance of the evidence that [John


                                        [31]
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      Doe is] not a credible witness. I find by a preponderance of the
      evidence that [Jane Doe] is a credible witness.

      51.   Defendant Dean Sermersheim's additional statement reflected a

failure in fact to apply a burden of proof, which requires a reasoned consideration

of the evidence to reach a conclusion; and Defendant Dean Sermersheim's

additional statement actually revealed the absence of a preponderance of evidence

supporting the finding of a violation by John Doe. There were evidence and

circumstances that should have been considered in addition to the statements of

John Doe and Jane Doe. While Jane Doe's unsworn allegations would support the

numbered findings in Defendant Dean Sermersheim June 29, 2016 letter, Jane Doe

had no .supporting documentation for her allegations, her allegations were made

five months after the alleged incidents took place with no contemporaneous reports

to the university or the police and her allegations were made after a suicide

attempt.

      52.   In contrast, John Doe's written response to the "Notice of

Allegations" and John Doe's statements to the Investigators and to the three-person

panel of the Advisory Committee on Equity consistently denied Jane Doe's

allegations, contradicting the numbered findings, and John Doe also submitted

documentation in the texts between John Doe and Jane Doe that indicated that no

sexual assault had occurred. Additionally, John Doe's roommate corroborated John

Doe's account in the sense that he did not observe any sexual assaults occurring as
                                        [32]
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indicated in the numbered paragraphs in Defendant Dean Sermersheim's additional

statement. Further, there was nothing said by Defendant Dean Sermersheim about

the dating relationship that John Doe and Jane Doe had for three months in the Fall

2015 that according to John Doe, included having consensual sexual intercourse 15

to 20 times.

       53.      While Defendant Dean Sermersheim purported to find Jane Doe

credible and John Doe not, there was no explanation supporting those purported

credibility judgments, there was no objective evidence supporting them and

without a hearing that included sworn testimony and the cross-examination of

witnesses, there was no proper basis for making such credibility judgments. In

fact, there was no hearing of any kind that would permit a decision-maker even to

begin to form impressions about who was telling the truth and who was not.

       54.      Defendant Dean Sermersheim's additional statement about the

credibility of witnesses again reflected a failure in fact to apply a burden of proof,

which requires a reasoned consideration of the evidence to reach a conclusion.

Consequently, only an anti-male bias to find for the female complainant and

against the male respondent can explain Defendant Dean Sermersheim's purported

findings concerning the preponderance of the evidence. John Doe was presumed

to be guilty.




                                         [33]
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      55.    The sanctions ordered by Defendant Dean Sermersheim did not take

into account that John Doe had a previously unblemished disciplinary record at

Defendant Purdue and had presented a list of names that would support his

character and integrity.

      56.    The Determination and Sanction were made by one person: Defendant

Dean Sermersheim, Dean of Students and also Title IX Coordinator. Defendant

Dean Sermersheim:

             (i) wrote the Notice of Investigation determining the allegations

against John Doe;

             (ii) issued the No Contact Directive to John Doe;

             (iii) appointed subordinates Defendant Erin Oliver and Defendant

Jacob Amberger as the Investigators for the complaint against John Doe;

             (iv) served as chair of the three-person Hearing panel of the Advisory

Committee on Equity in deciding John Doe's case;

             (v) wrote a cursory and perfunctory decision letter stating that she had

determined John Doe responsible;

             (vi) issued a decision letter that was rejected by the Defendant Purdue

Vice President of Ethics and Compliance for lacking a stated rationale for the

decision; and




                                        [34]
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             (vii) ultimately re-issued the decision letter to add one sentence of

unsubstantiated postulation to suggest that the preponderance of the evidence

standard had been met and that John Doe was responsible for "Sexual Violence."

      57.    Defendant Dean Sermersheim's responsibilities were overbroad and

held a conflict of interest as determined by Title IX guidance: "Title IX

coordinators should not have other responsibilities that may create a conflict of

interest. For example, serving as the Title IX coordinator and a disciplinary hearing

board member or general counsel may create a conflict of interest." By putting

decision-making as to violation and sanction in one person who is both Dean of

Students and Title IX Coordinator, it permits, among other things, decision-making

in specific cases be tailored to give the appearance of vigorous Title IX

enforcement and meet perceived reporting needs to U.S. Department of Education

Office of Civil Rights.

L.    July 10, 2016: John Doe's Appeal Of
      Re-Issued Determination and Sanctions.

      58.    On July 10, 2016, John Doe timely submitted an appeal of that date to

Defendant Vice President Rollock from Defendant Dean Sermersheim's re-issued

determination and sanctions. John Doe began by stating that Defendant Vice

President Rollock had directed Defendant Dean Sermersheim to provide the factual

basis for her determination, but that Defendant Dean Sermersheim had failed to



                                         [35]
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provide that factual basis, that she merely restated her conclusions at greater

length.

      59.    John Doe's July 10, 2016 appeal first noted that he never had the

opportunity to review the Investigator's Report and thus could not address the

allegations supposedly questioning his credibility, nor had he been permitted to

respond to any "factual evidence." John Doe's July 10, 2016 appeal stated:

"[Defendant] Dean Sermersheim's unsubstantiated conclusion that I am not a

credible witness still has not been corroborated with any facts." John Doe's July

10, 2016 appeal reported that he had provided the Investigators with a list of over

30 names to substantiate the credibility of his character and integrity, but he could

not defend himself against Defendant Dean Sermersheim's attack on his credibility

if there is no factual evidence presented.

      60.    John Doe's July 10, 2016 appeal then discussed the point that the June

6, 2016 meeting with Defendant Dean Sermersheim and the three-person panel of

the Advisory Committee on Equity was flawed at best. John Doe's July 10, 2016

appeal asserted that a reasonable person would question the fairness of a meeting

where two of the three panel members did not read the Investigator's Report before

the meeting and that a reasonable person would question whether they took

·seriousness of the importance of a process that has punitive and irreversible

consequences. John Doe's July 10, 2016 appeal further asserted that the attitude of


                                             [36]
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the panel members was "one of overt skepticism and hostility." John Doe asked

"what could possibly explain their attitude other than that they had prejudged the

outcome and my (alleged) guilt?"

      61.    John Doe's July 10, 2016 appeal pointed out that at the beginning of

his Fall 2015 semester, he had started the year in Navy ROTC, and one of the

issues discussed was the "zero tolerance" policy toward sexual harassment. John

Doe reiterated that Jane Doe's accusations of sexual assault were false and noted

that one of Jane Doe's accusations was based on what John Doe had allegedly told

her about digitally penetrating her. John Doe asked: "Why would I not only admit

to something that didn't happen, but also knowingly admit to something that would

jeopardize my ROTC scholarship and future serving my country?"

      62.   John Doe's July 10, 2016 appeal discussed Jane Doe's possible

motives for making false accusations against John Doe: to punish John Doe for

having reported to the university Jane Doe's suicide attempt in December 2015, an

attempt that could have been reported to Navy ROTC as well. Also in this

connection, Jane Doe had started up in the Spring 2016 semester a relationship

with an upperclassman who was a member of Navy ROTC and who made it plain

he did not like John Doe.

      63.   John Doe's July 10, 2016 appeal noted behavior on the part of Jane

Doe inconsistent with the. accusations of sexual assault. After the relationship


                                       [37]
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ended, Jane Doe contacted John Doe on a number of occasions, at times seeking

advice, which Jane Doe would not do had there been any sexual assaults, John Doe

had provided text evidence of these contacts. John Doe asked: "If I had sexually

violated [Jane Doe], why would she continue to initiate contact and even seeking

my advice?"

      64. John Doe's July 10, 2016 appeal insisted on knowing what was the

particular evidence used to determine Defendant Dean Sermersheim's finding that

the preponderance of the evidence supported John Doe not being a credible witness

and Jane Doe being a credible witness. John Doe's July 10, 2016 appeal repeated

that he had been denied the evidence that supposedly supports the factual basis for

Defendant Dean Sermersheim's determination and denied the Investigator's

Report. John Doe's July 10, 2016 appeal requested that the determination and

sanctions be set aside and that the Investigator's Report be provided to him as well

as "all documents and materials relating to his official file at [Defendant] Purdue

University, including but not limited to ... all materials, independent investigator's

reports, and all files, letters, and documentation relating to the investigation", "all

handwritten notes that have been generated by all parties representing the

University" and "a copy of Ms. Erin Oliver anq Mr. Jacob Amberger's report."




                                          [38]
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      65. Under Purdue's Polices, Purdue had 45 days in which to tum over the

requested records. To meet that time requirement, Defendant Purdue would have

needed by August 24, 2016, to turn over the requested records to John Doe.

M.    July 22,2016: Defendant Vice President
      Rollock' s Second Appeal Decision.

      66.    On July 21, 2016, Defendant Vice President Rollock sent a letter of

that date to John Doe issuing her second appeal decision. Defendant Vice President

Rollock's July 21, 2016 appeal decision stated that after reviewing:

             (i) John Doe's appeal,

             (ii) Defendant Dean Sermersheim's April 11, 2016 letter notifying

John Doe of the University's decision to investigate allegations regarding his

conduct toward Jane Doe,

             (iii) John Doe's written response to the Notice of Allegations,

             (iv) the Investigator's Report,

             (v) Jane Doe's e-mail message of June 5, 2016, and

             (vi) Defendant Dean Sermersheim's letters of June 14, 2016 and June

29, 2016, Defendant Vice President Rollock was upholding Defendant Dean

Sermersheim's determination and sanctions.

      67.   Defendant Vice President Rollock's July 21, 2016 appeal decision

added that in reviewing the appropriateness of the sanctions imposed, she had

considered the effects on Jane Doe's educational environment and the threat posed
                                         [39]
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to the safety of Jane Doe and the university community. According to Defendant

Vice President Rollock's July 21, 2016 appeal decision, the seriousness of John

Doe's misconduct supported the sanctions ordered by Defendant Dean

Sermersheim.

      68.    Defendant Vice President Rollock's July 21, 2016 appeal decision did

not address any of the substantive issues raised by John Doe's appeal:

             (i) not the failure of Defendant Dean Sermersheim to provide the

factual basis for her determination despite Defendant Vice President Rollock' s

June 28, 2016 directive to provide that factual basis;

             (ii) not that John Doe never had the opportunity to review the

Investigator's Report and thus could not address the allegations supposedly

questioning his credibility;

             (iii) not that John Doe had not been permitted to respond to any

"factual evidence"·
                   '
             (iv) not that the June 6, 2016 meeting with Defendant Dean

Sermersheim and the three-person panel of the Advisory Committee on Equity

showed hostility toward and prejudgment against John Doe;

             (v) not that Jane Doe's accusation about what John Doe had allegedly

told her about digitally penetrating her made no sense given how such behavior




                                         [40]
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would jeopardize John Doe's Navy ROTC scholarship and career serving his

country;

               (vi) not John Doe's question: "Why would I not only admit to

something that didn't happen, but also knowingly admit to something that would

jeopardize my ROTC scholarship and future serving my country?";

               (vii) not Jane Doe's possible motive for making false accusations

against John Doe in punishing John Doe for having reported to the university Jane

Doe's suicide attempt in December 2015; (viii) !!Q1 the behavior on the part of Jane

Doe that was documented and that was inconsistent with the accusations of sexual

assault; and

               (ix) not John Doe's question "If I had sexually violated [Jane Doe],

why would she continue to initiate contact and even seeking my advice?"

      69.      Instead, Defendant Vice President Rollock's July 21, 2016 appeal

decision upheld perfunctorily Defendant Dean Sermersheim's June 29, 2016 re-

issued determination and order of sanctions.

      70.      On July 25, 2016, Defendant Vice President Rollock sent an e-mail

letter to John Doe, copied to Ms. Tandra Foster, Associate Legal Counsel at

Defendant Purdue, concerning John Doe's request for his education records.

Defendant Vice President Rollock's July 25, 2016 e-mail letter quoted John Doe's

July 10, 2016 letter appeal requesting "all documents and materials relating to his


                                         [41]
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official file at [Defendant] Purdue University, including but not limited to ... all

materials,   independent investigator's reports,     and all    files,   letters, and

documentation relating to the investigation", "all handwritten notes that have been

generated by all parties representing the University" and "a copy of Ms. Erin

Oliver and Mr. Jacob Amberger's report." Defendant Vice President Rollock's

July 25, 2016 e-mail letter then stated "[b]y a copy of this email to Tandra Foster,

Associate Legal Counsel," Defendant Vice President Rollock was alerting Ms.

Foster to John Doe's request for his education records and that Ms. Foster would

process John Doe's request. The phone number and e-mail address for Ms. Foster

was provided.

      71.    After Defendant Vice President Rollock's July 25, 2016 e-mail letter,

neither Tandra Foster nor anyone else at Defendant Purdue provided any

documents in response to John Doe's request for the documents identified in John

Doe's July 10, 2016 appeal letter and Defendant Vice President Rollock's July 25,

2016 e-mail letter.

      72.    On August 16, 2016, John Doe involuntarily resigned from ,Navy

ROTC, his dream of serving his country as a Naval officer destroyed. Meanwhile,

in August 2016 at Defendant Purdue, a second OCR investigation was opened, the

student newspaper reported that a new "Sexual Assault Center" was opened on

campus and procedures for adjudicating sexual misconduct cases were amended to


                                        [42]
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permit respondents and complainants to have access to the investigative report and

to submit comments and additional information to Defendant Purdue's Investigator

in writing.    John Doe was a male sacrificed to give Defendant Purdue the

appearance of being Title IX compliant.

N.    John Doe's Repeated Request for the Investigative Report.

      73.     On September 20, 2016, 72 days after John Doe's request had been

made and well past the 45-days stated on Purdue's Policies, John Doe again

requested the documents identified in his July 10, 2016 appeal, this time directly to

Tandra Foster. On that date, John Doe sent an e-mail to Tandra Foster, requesting

the identified documents be "turn[ed] over" to him and citing the 2002 ruling of

the U.S. Court of Appeals for the Sixth Circuit in United States v. Miami

University for the right to read and inspect all documents relating to the

investigation of his case.

      74. On October 11, 2016, 93 days after John Doe's first request was made

for production of records, Tandra Foster replied, stating that John Doe and his

parents could go to Purdue to review the documents during a scheduled time, of

which only four options were made available by Purdue, on the mornings and

afternoons of October 19 and October 20, more than a full week after Tandra

Foster's response.




                                          [43]
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      75.    On October 20, 2016, John Doe and his mother at Defendant Purdue

reviewed documents that were made available. John Doe and his mother could

not, however, make copies of any of the documents made available for review;

John Doe and his mother were also not permitted to take photographs or record

audio of any of the documents; the only medium of copying that Defendant Purdue

allowed was to write everything by hand. Also, while the documents made

available did include the Investigator's Report, it was heavily redacted such that

witnesses and other apparently important information were not identifiable

Despite the Investigator's Report forming a critical part of the basis for the

determination against John Doe, that Investigator's Report was never provided to

John Doe during the disciplinary case by Defendant Purdue and even after the

disciplinary case was over, the Investigator's Report was never provided to John

Doe without heavy redactions.

      76.   The Family Educational Rights and Privacy Act ("FERPA"), 20

U.S.C. § 1232g; 34 CFR Part 99, is a Federal law that protects the privacy of

student education records. The law applies to all schools· that receive funds under

an applicable program of the U.S. Department of Education, which included

Defendant Purdue. FERP A provides that the educational agency or institution shall

comply with a request for access to records within a reasonable period of time, but

not more than 45 days after the school or educational agency has received the


                                        [44]
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request. John Doe's initial July 10, 2016 requests went unsatisfied for 93 days,

until Tandra Foster replied on October 11, 2016. At this point it was long past the

deadline for John Doe's appeal, for which access to the investigation report and

other evidence was critical to allow John Doe to provide an informed defense.

                                    COUNT I
       (42 U.S.C. § 1983: Denial of Fourteenth Amendment Due Process)

      77.    John Doe repeats and re-alleges each and every allegation

hereinabove as if fully set forth herein.

      78.    The Fourteenth Amendment to the United States Constitution

provides that no state shall "deprive any person of life, liberty, or property,

without due process oflaw." In this case, Defendants are state actors subject to the

Fourteenth Amendment.

      79.    Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

      Every person who, under color of any statute, ordinance, regulation,
      custom, or usage, of any State or Territory or the District of
      Columbia, subjects, or causes to be subjected, any citizen of the
      United States or other person within the jurisdiction thereof to the
      deprivation of any rights, privileges, or immunities secured by the
      Constitution and laws, shall be liable to the party injured in an action
      at law, suit in equity, or other proper proceeding for redress ....

      80.    A person has a protected liberty interest in his good name,

reputation, honor, and integrity, of which he cannot be deprived without due

process.


                                            [45]
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       81.   A person has a protected property interest in pursuing his education,

as well as in future educational and employment opportunities and occupational

liberty, of which he cannot be deprived without due process.

      82.    John Doe's constitutionally protected property interest m his

continued enrollment at Defendant Purdue and to be free from arbitrary suspension

and dismissal arises from the policies, courses of conduct, practices and

understandings established by Defendant Purdue.

      83.    John Doe's constitutionally protected property interest further arises

from the express and implied contractual relationship between Defendant Purdue

and John Doe.

      84.    It 1s well established that Fourteenth Amendment due process

protections are required in the higher education disciplinary proceedings.

      85.    A person who has been admitted to auniversity, and who has paid

tuition to that university, has a protected property interest in continuing his

education at that university until he has completed his course of study. The state

cannot deprive a person of this interest without due process.

      86.    As a result, if John Doe as a Purdue student faced disciplinary action

that included the possibility of suspension or dismissal if found responsible for

alleged sexual misconduct, then the Due Process provisions of the Fourteenth




                                         [46]
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 Amendment to the United States Constitution applied to the disciplinary process

 that Defendant Purdue used.
                                                      I


       87.    Defendant Purdue, as a land grant university established by the State

 of Indiana, and the individual Defendants, as agents of Defendant Purdue, have a

· duty to provide its students equal protection and due process of law by and

 through any and all policies and procedures set forth by the University.

       88.    John Doe had obeyed all institutional rules when he was wrongly

 suspended from Defendant Purdue.

       89.    Under both federal and state law, John Doe had a constitutionally

 protected property interest in continuing his education at Defendant Purdue.

       90.    John Doe was       entitled to      process    commensurate with the

 senousness of the allegations and the potential discipline, sanctions, and

 repercussions he was facing. The allegations in this case resulted in a sanction that

 will have lifelong ramifications for John Doe.

       91.    John Doe was entitled to fundamentally fair procedures to determine

 whether he was responsible for the alleged sexual misconduct.

       92.    In the course of such investigation and adjudication, Defendants

 flagrantly violated John Doe's clearly established rights under the Due Process

Clause of the Fourteenth Amendment through its deprivation of the minimal

requirements of procedural fairness by employing a Kafkaesque process in which

                                          [47]
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there is no cross-examination, no sworn testimony, no hearing of any kind, no

access for the respondent even to see the investigator's report, no provision to

respondent of the evidence that supposedly supported the false allegations and thus

no adequate ability to prepare a defense to them, no presumption of innocence but

rather a presumption that the female's accusations are true, no reasoned

consideration of evidence as required by a burden of proof, no requirement for

evidence to be stated in support of conclusions and thus an effective discretion to

engage in discriminatory decision-making and a prejudiced ability for the

respondent to prepare and submit an appeal.

      93.   Cross-examination has been recognized as the greatest legal engine

ever invented for discovery of the truth, Lilly v. Virginia, 527 U.S. 116, 124

(1999), and has been ruled to be required for basic due process m campus

disciplinary cases, Donohue v. Baker, 976 F.Supp. 136 (N.D.N.Y. 1997). Yet, in a

case where Defendant Purdue relied upon a credibility assessment, there was no

hearing and thus no cross-examination was available and no sworn testimony was

taken in violation of due process of law. John Doe v. University of Cincinnati, No.

16-cv-987, 2016 WL 6996194 (S.D. Ohio Nov. 30, 2016).

      94.   Defendant Dean Sermersheim, Dean of Students and also Title IX

Coordinator discharged responsibilities in university Title IX adjudications that




                                        [48)
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involved a conflict of interest contrary to a Fourteenth Amendment interest in a fair

process. Defendant Dean Sermersheim:

          (i) wrote the Notice of Investigation determining the allegations against John

Doe·
      '
          (ii) issued the No Contact Directive to John Doe;

          (iii) appointed subordinates Defendant Erin Oliver and Defendant Jacob

Amberger as the Investigators for the complaint against John Doe;

          (iv) served as chair of the three-person Hearing panel of the Advisory

Committee on Equity in deciding John Doe's case;

          (v) wrote a cursory and perfunctory decision letter stating that she had

determined John Doe responsible;

          (vi) issued a decision letter that was rejected by the Defendant Purdue Vice

President of Ethics and Compliance for lacking a stated rationale for the decision;

and

          (vii) ultimately re-issued the decision letter to add one sentence of

unsubstantiated postulation to suggest that the preponderance of the evidence

standard had been met and that John Doe was responsible for "Sexual Violence."

          95.   Defendant Dean Sermersheim's responsibilities were overbroad and

held a conflict of interest as determined by Title IX guidance: "Title IX

coordinators should not have other responsibilities that may create a conflict of


                                          . [49]
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interest. For example, serving as the Title IX coordinator and a disciplinary hearing

board member or general counsel may create a conflict of interest." By putting

decision-making as to violation and sanction in one person who is both Dean of

Students and Title IX Coordinator, it permits, among other things, decision-making

in specific cases be tailored to give the appearance of vigorous Title IX

enforcement and meet perceived reporting needs to U.S. Department of Education

Office of Civil Rights.

      96.    Defendants were pressured by the Obama Administration's DOE into

following the Title IX investigative and adjudicatory process mandated by the

"April 2011 Dear Colleague Letter" regardless of what otherwise would be due

process considerations. Defendant Purdue was the subject of two OCR

investigations opened during 2016. Assistant Secretary Lhamon, as quoted above,

made numerous public statements about the obligation of colleges and universities

to conform to the "April 2011 Dear Colleague Letter" or face the cut-off of federal

funding.    The DOE and OCR have accordingly treated the "April 2011 Dear

Colleague Letter" as binding on regulated parties for all practical purposes.

      97.    The 2011 Dear Colleague Letter has in fact resulted in significant

action and legal consequences. At the July 2014 Dartmouth College conference,

Ms. Lhamon stated: "Our release of the 2011 DCL [Dear Colleague Letter] is

widely credited with having sparked significant changes at colleges and


                                         [SO]
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universities as they worked to meet Title IX' s requirements consistent with the

20 11 DCL [Dear Colleague Letter]."

      98.    Defendants deprived John Doe of his liberty and property interests

without affording him basic due process, including, but not limited to, his right

to a fair adjudication free of bias, his right to be informed of the evidence against

him, his right to be innocent until shown to be responsible and not to be subjected

to the burden of proving innocence, his right to be heard by an impartial factfinder,

to question his accuser, challenge the credibility of other adverse witnesses and

present evidence and witnesses in support of his defense.

      99.    In   attempting    to     demonstrate     their   compliance    with   the

"Aprif 2011 Dear Colleague Letter," the Defendants subjected John Doe to an

insufficient process when they failed to provide John Doe with a fair and

reasonable opportunity to defend himself and arrived at a predetermined, arbitrary

and unwarranted decision tainted by gender bias.

      100. As a result, Defendants failed to provide John Doe with the basic

due process protections that they are required to provide students accused of

sexual misconduct at a state school.

      101. Defendants, as well as other agents, representatives, and employees

of Defendant Purdue, were acting under color of state law when they showed




                                          [51]
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 intentional, outrageous, and reckless disregard for John Doe's constitutional

 rights.

           102. Defendants all agreed to, approved, and ratified this unconstitutional

 conduct.

           103. As a result of these due process violations, John Doe continues to

 suffer ongoing harm, including damages to his reputation and other non-economic

 and economic damages. In particular, suspension from Defendant Purdue denied

 him the benefits of education at his chosen school and also damaged John Doe's

 academic and professional reputation. John Doe's lifelong goal of becoming of a

 naval officer and serving his country has been shattered.

           104. Accordingly, Defendants are liable to John Doe in violation of 42

 U.S.C. § 1983 for violations of the Due Process Clause of the Fourteenth

 Amendment, and for all damages arising therefrom.

           105. As a direct and proximate result of the above conduct, John Doe

· sustained tremendous damages, including, without limitation, emotional distress,

 loss of educational, military career opportunities, economic injuries and other

 direct and consequential damages. John Doe's interests in the results of the

 disciplinary process are significant.

           106. As a result of the foregoing, John Doe is entitled to damages in an

 amount to be determined at trial, plus prejudgment interest, attorneys' fees,


                                           [52]
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expenses, costs and disbursements and to an injunction enjoining violations of the

Fourteenth Amendment in the process of investigating and adjudicating sexual

misconduct complaints.

                                         COUNT II
              (Violation of Title IX of the Education Amendntents of 1972)

       107. John Doe repeats and re-alleges each and every allegation

hereinabove as if fully set forth herein.

       108. Title IX of the Education Amendments of 1972 provides, in relevant

part, that:

       No person in the United States shall, on the basis of sex, be excluded
       from participation in, be denied the benefits of, or be subjected to
       discrimination under any education program or activity receiving
       Federal financial assistance.

       109. Title IX of the Education Amendments of 1972 applies to an entire

school or institution if any part of that school receives federal funds; hence, athletic

programs are subject to Title IX of the Education Amendments of 1972 even

though there is very little direct federal funding of school sports.

       110. According to published audited financial statements, at fiscal year-end

2016, Defendant Purdue: received $14,796,000 in federal grants; had accrued long-

term liability of $19,891,000 in advances from the federal government; and was

the recipient of $356,066,000 in grants and contracts provided by both government

and other sources.

                                            [53]
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      111. Title IX may be violated by a school's failure to prevent or remedy

sexual harassment or sexual assault or by the imposition' of university discipline

where gender is a motivating factor in the decision to discipline. In either case, the

statute is enforceable through an implied private right of action.

      112. The Obama Administration's DOE has promulgated regulations under

Title IX that require a school to "adopt and publish grievance procedures providing

for the prompt and equitable resolution of student... complaints alleging any action

which would be prohibited by" Title IX or regulations thereunder. Such prohibited

actions include all forms of sexual misconduct. 34 C.P.R.§ 106.8(b).

      113. Even the Obama Administration's DOE has ostensibly recognized that

the procedures adopted by a school such as Defendant Purdue covered by Title IX

must accord due process to both parties involved. The practical reason why due

process matters is so that cases are not decided "on the basis of an erroneous or

distorted conception of the law or the facts." Marshall v. Jerrico, Inc., 446 U.S.

238, 242 (1980).

      114. Even the Obama Administration's DOE has ostensibly recognized that

there must be "[a]dequate, reliable, and impartial investigation of complaints" and

that a school has an obligation under Title IX to make sure that all employees

involved in the conduct of the procedures have "adequate training as to what

conduct constitutes sexual harassment, which includes "alleged sexual assaults."


                                         [54]
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       115. Challenges      to   university     disciplinary   proceedings    for   sex

discrimination fall in two categories: (1) "erroneous outcome" cases, in which the

claim is that plaintiff was innocent and wrongly found to have committed an

offense and gender bias was a motivating factor behind the erroneous findings; and

(2) "severity of pemilty/selective initiation" cases, in which the claim asserts that,'

regardless of the student's guilt or innocence, the severity of the penalty and/or

decision to initiate the proceeding was affected by the student's gender.

       116. An "erroneous outcome" occurred in this case because John Doe was

innocent and wrongly found to have committed sexual assault and gender bias was

a motivating factor.

       117. The denial of due process in this case resulted in an "erroneous

outcome" based on erroneous and distorted conception of the facts.

      118. Defendant Purdue failed to conduct an adequate, reliable, and

impartial investigation when it conducted its investigation of Jane Doe's

allegations and subsequent adjudication in a manner that was biased against John

Doe. Further, John Doe was severely prejudiced in being able to defend himself

because he was denied access to the Investigator's Report and case file as a whole.

The quick review of the Investigator's Report that a Navy ROTC officer allowed

John Doe indicated that the Investigator's Report misrepresented that John Doe

had confessed guilt. Further, all the reports that John Doe has seen in his case file


                                         [55]
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had redacted all names, not providing John Doe the knowledge of who says what

about John Doe or anything pertaining to the case.

         119. The quick review of the Investigator's Report that a Navy ROTC

officer allowed John Doe indicated that it misrepresented John Doe of confessing

guilt.

         120. Defendant Purdue made no provision, to John Doe as the respondent,

of the evidence that supposedly supported the false allegations, and thus John Doe

was severely prejudiced in being able to prepare a defense to those false

allegations.

         121. Defendant Purdue has created a victim-centered process in which an

accused male student is prosecuted under a presumption of guilt and improperly

places the burden of proof in John Doe. Such a one-sided process deprived John

Doe, as a male student, of educational opportunities at Defendant Purdue on the

basis of his sex.

         122. Defendant Purdue held no hearing of any kind to determine the facts,

but rather relied upon the Dean of Students, Defendant Dean Sermersheim, to

make a determination almost entirely based on a review of the written allegations,

the written response to the allegations and the Investigator's Report that is not

disclosed to the respondent (here, John Doe). Yet, in a case where Defendant

Purdue relied upon a credibility assessment, there was no hearing.


                                         [56]
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       123. As stated above, cross-examination has been recognized as the

greatest legal engine ever invented for discovery of the truth, Lilly v. Virginia, 527

U.S. 116, 124 (1999), and has been ruled to be required for basic due process in

. campus disciplinary cases, Donohue v. Baker, 976 F.Supp. 136 (N.D.N.Y. 1997).

Yet, in a case where Defendant Purdue relied upon a credibility assessment, no

cross-examination was available and no sworn testimony was taken in violation of

due process of law. John Doe v. University of Cincinnati, No. 16-cv-987, 2016

WL 6996194 (S.D. Ohio Nov. 30, 2016).

       124. Defendant Dean Sermersheim, Dean of Students and also Title IX

Coordinator discharged responsibilities in university Title IX adjudications that

involved a conflict of interest contrary to Title IX guidance. Defendant Dean

Sermersheim:

             (i) wrote the Notice of Investigation determining the allegations

against John Doe;

             (ii) issued the No Contact Directive to John Doe;

             (iii) appointed subordinates Defendant Erin Oliver and Defendant

Jacob Amberger as the Investigators for the complaint against John Doe;

             (iv) served as chair of the three-person Hearing panel of the Advisory

Committee on Equity in deciding John Doe's case;




                                         [57]
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             (v) wrote a cursory and perfunctory decision letter stating that she had

determined John Doe responsible;

             (vi) issued a decision letter that was rejected by the Defendant Purdue

Vice President of Ethics and Compliance for lacking a stated rationale for the

decision; and

             (vii) ultimately re-issued the decision letter to add one sentence of

unsubstantiated postulation to suggest that the preponderance of the evidence

standard had been met and that John Doe was responsible for "Sexual Violence."

      125. Defendant Dean Sermersheim's responsibilities were overbroad and

held a conflict of interest as determined by Title IX guidance: "Title IX

coordinators should not have other responsibilities that may create a conflict of

interest. For example, serving as the Title IX coordinator and a disciplinary hearing

board member or general counsel may create a conflict of interest." By putting

decision-making as to violation and sanction in one person who is both Dean of

Students and Title IX Coordinator, it permits, among other things, decision-making

in specific cases be tailored to give the appearance of vigorous Title IX

enforcement and meet perceived reporting needs to U.S. Department of Education

Office of Civil Rights.

      126. The totality of the circumstances establish that Defendants acted out

of gender bias in reaching the "erroneous outcome." Defendant Purdue credited


                                         [58]
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false accusations of sexual assault made by a female five months after the

supposed occurrences with no supporting documentation and discredited the male

John Doe and disregarded evidence tending to exculpate the male John Doe,

including numerous text messages between Jane Doe and John Doe that indicated

that no sexual assault occurred.

      127. Defendant Purdue required no reasoned consideration of evidence as

required by a burden of proof. Defendant Dean Sermersheim's additional statement

in her June 29, 2016 letter reflected a failure in fact to apply a burden of proof,

which requires a reasoned consideration of the evidence to reach a conclusion, and

actually revealed the absence of a preponderance of evidence supporting the

finding of a violation by John Doe. Defendant Dean Sermersheim's additional

statement in her June 29, 2016 letter provided no explanation supporting her stated

credibility judgments for the female Jane Doe and against the male John Doe, there

was no objective evidence supporting Defendant Dean Sermersheim's stated

credibility judgments and without a hearing that included the questioning of

witnesses, there was no proper basis for making such credibility judgments. Only

an anti-male bias to find for the female complainant and against the male ·

respondent can explain Defendant Dean 'Sermersheim's purported findings

concerning the preponderance of the evidence.




                                        [59]
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       128. Defendant Purdue failed to provide John Doe the factual basis for the

violations determination and sanctions, resulting in a prejudiced ability for the

John Doe as respondent to prepare and submit an appeal and allowing for

discriminatory decision-making. Defendant Vice President Rollock's July 21, 2016

appeal decision did not address any of the substantive issues raised by John Doe's

appeal, including the failure of Defendant Dean Sermersheim to provide the factual

basis for her determination despite Defendant Vice President Rollock's June 28,

2016 directive to provide that factual basis, the prejudiced ability to present a

defense as a result of John Doe never having the opportunity to review the

Investigator's Report and never having been permitted to respond to any "factual

evidence," that Jane Doe's accusation about what John Doe had allegedly told her

about digitally penetrating her made no sense given how such behavior would

jeopardize John Doe's Navy ROTC scholarship and career serving his country and

the behavior on the part of Jane Doe that was documented and that was

inconsistent with the accusations of sexual assault.     Instead, Defendant Vice

President Rollock's July 21, 2016 appeal decision upheld perfunctorily Defendant

Dean Sermersheim's June 29, 2016 re-issued determination and order of sanctions

that were the product of gender bias.

      129. Defendant Dean Sermersheim's decision to order sanctions that were

"unduly severe" was affected by John Doe's male gender. The false accusations


                                        [60]
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were treated as posing a serious threat to the university when in fact there was no

such threat, just an anti-male bias treating John Doe as a "rapist" on the loose.

Defendant Dean Sermersheim's decision to order sanctions that were unduly

severe did not take into account that John Doe had a previously unblemished

disciplinary record at Defendant Purdue and had presented a list of names that

would support his character and integrity.

      130. Upon information and belief, Defendants were pressured by the

Obama Administration's Department of Education into following the Title IX

investigative and adjudicatory process mandated by the 2011 Dear Colleague

Letter regardless of due process considerations.     Upon information and belief,

Defendant Purdue's mishandling of John Doe's case was wrongfully affected by

federal pressure from the Federal Defendants.

      131. The totality of circumstances establishes that Defendant Purdue has

demonstrated a pattern of inherent and systematic gender bias and discrimination

against male students accused of misconduct.

      132. Upon information and belief, all students that have been suspended or

expelled from Defendant Purdue for sexual misconduct have been male.

      133. Male respondents, and particularly male athletes and male ROTC

members, in sexual misconduct cases at Defendant Purdue ·are discriminated




                                        [61]
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against solely on the basis of sex. They are invariably found guilty, regardless of

the evidence, or lack thereof.

        134. As a direct and proximate result of the above conduct, John Doe

sustained tremendous damages, including, without limitation, emotional distress,

loss of educational, athletic and career opportunities, economic injuries and other

direct and consequential damages.

        135. As a result of the foregoing, John Doe is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys' fees,

expenses, costs and disbursements and to an injunction enjoining violations of the

Title IX in the process of investigating and adjudicating sexual misconduct

complaints.

                                   COUNT III
                          (State Law Breach of Contract)

        136. John Doe repeats and re-alleges each and every allegation

hereinabove as if fully set forth herein.

        137. Defendant Purdue created express and/or implied contracts when John

Doe accepted an offer of admission to Defendant Purdue and paid the tuition and

fees.

        138. Defendant Purdue breached express and/or implied contracts with

John Doe.



                                            [62]
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       139. Defendant Purdue Policies provides that students are to have a fair

and impartial disciplinary process in which it is the responsibility of the University

to show that a violation has occurred before any sanctions are imposed. Defendant

Purdue breached its contract with John Doe when it failed to conduct a fair and

impartial process, including not holding a hearing. At no time was John Doe

afforded the procedural guarantees that generally accompany a hearing, such as the

right to present witnesses and evidence, confront one's accuser and cross-examine

and challenge any witnesses against him, all before an impartial and objective

factfinder. Thus, Defendants violated the contract with John Doe when they failed

to afford him a proper hearing on Jane Doe's accusations against him.

      140. Defendant Purdue Policies provides that the investigation will be

neutral. In this case, however, the investigation was not neutral. Defendant Purdue

failed to conduct an adequate, reliable, and impartial investigation when it

conducted its investigation of Jane Doe's allegations and subsequent adjudication

in a manner that was biased against John Doe. Further, John Doe was severely

prejudiced in being able to defend himself because he was denied access to the

Investigator's Report. The quick review of the Investigator's Report that a Navy

ROTC officer allowed John Doe indicated that it misrepresented John Doe of

confessing guilt.




                                         [63]
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      141. The U.S. Department of Education Office for Civil Rights requires

that the excessively low preponderance of the evidence burden of proof be used to

evaluate allegations of sexual misconduct.      Though an inadequate standard to

protect the procedural rights of accused students, Defendant Purdue utilizes this

standard of review, as recognized in its Policies. Defendant Purdue violated this

provision when they improperly placed the burden of proof on John Doe to prove

that Jane Doe's accusations were not true and when it failed to utilize the

preponderance of the evidence standard in fact in reaching its Determination.

Defendant Purdue therefore breached its contract with John Doe when it failed to

utilize the requisite preponderance of the evidence standard.

      142. . Based on the aforementioned facts and circumstances, Defendant

Purdue breached and violated a covenant of good faith and fair dealing implied in

the agreement(s) with John Doe. Defendant Purdue failed its duty of good faith

and fair dealing when it meted out a disproportionate sanction notwithstanding the

flawed process and lack of evidence in support of Jane Doe's allegations of sexual

misconduct.

      143. John Doe is entitled to recover damages for Defendant CSUP's breach

of the express and/or implied contractual obligations described above. As a direct

and proximate result of the above conduct, John Doe sustained tremendous

damages, including, without limitation, emotional distress, loss of educational,


                                        [64]
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athletic and career opportunities, economic InJUries and other direct and

consequential damages.

       144. As a result of the foregoing, John Doe is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys' fees,

expenses, costs and disbursements.

                                   COUNT IV
                        (State Law Estoppel and Reliance)
       145. John Doe repeats and re-alleges each and every allegation

hereinabove as if fully set forth herein.

      146. Defendant Purdue's various policies constitute representations and

promises that Defendant Purdue should have reasonably expected to induce action

or forbearance by John Doe.

      147. Defendant Purdue expected or should have expected John Doe to

accept its offer of admission, incur tuition and fees expenses, and choose not to

attend other colleges based on its express and implied promises that Defendant

Purdue would not tolerate, and John Doe would not suffer, harassment by fellow

students and would not deny John Doe his procedural rights should he be accused

of a violation of Purdue Policies.

      148. John Doe relied to his detriment on these express and implied

promises and representations made by Defendant Purdue.



                                            [65]
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      149. Based on the foregoing, Defendant Purdue is liable to John Doe based

on estoppel.

      150. As a direct and proximate result of the above conduct, John Doe

sustained tremendous damages, including, without limitation, emotional distress,

psychological damages, loss of educational and athletic opportunities, economic

injuries and other direct and consequential damages.

                               PRAYER FOR RELIEF

      WHEREFORE, for the foregoing reasons, John Doe demands judgment

against Defendants as follows:

      (i)      on the first cause of action for violation of constitutional due process
               under 42 U.S.C. § 1983, a judgment against Defendant Purdue
               awarding John Doe damages in an amount to be determined at trial,
               including, without limitation, damages to physical well-being,
               emotional and psychological damages, damages to reputation, past
               and future economic losses, loss of educational and athletic
               opportunities, and loss of future career prospects, plus prejudgment
               interest, attorneys' fees, expenses, costs and disbursements an
               injunction enjoining violations of the Fourteenth Amendment in the
               process of investigating and adjudicating sexual misconduct
               complaints;

      (ii)     on the second cause of action for violation of Title IX of the
               Education Amendments of 1972, a judgment against Defendant
               Purdue awarding John Doe damages in an amount to be determined at
               trial, including, without limitation, damages to physical well-being,
               emotional and psychological damages, damages to reputation, past
               and future economic losses, loss of educational and athletic
               opportunities, and loss of future career prospects, plus prejudgment
               interest, attorneys' fees, expenses, costs and disbursements and an
               injunction against and to an injunction enjoining violations of the Title


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              IX in the process of investigating and adjudicating sexual misconduct
              complaints;

      (iii)   on the third cause of action for state law breach of contract, a
              judgment awarding John Doe damages in an amount to be determined
              at trial, including, without limitation, damages to physical well-being,
              emotional and psychological damages, damages to reputation, past
              and future economic losses, loss of educational and athletic
              opportunities, and loss of future career prospects, plus prejudgment
              interest, attorneys' fees, expenses, costs and disbursements;

      (iv)    on the fourth cause of action for state law breach estoppel and
              reliance, a judgment awarding John Doe damages in an amount to be
              determined at trial, including, without limitation, damages to physical
              well-being, emotional and psychological damages, damages to
              reputation, past and future economic losses, loss of educational and
              athletic opportunities, and loss of future career prospects, plus
              prejudgment interest, attorneys' fees, expenses, costs and
              disbursements;

      (v)     awarding John Doe such other and further relief as the Court deems
              just, equitable and proper.

                                JURY DEMAND

        Plaintiff demands a trial by jury of all issues presented herein that are

capable of being tried by a jury.

                                        Respectfully submitted,

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                                         [67]
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                               CERTIFICATE OF SERVICE

       The undersigned attorney certifies that he served the attached pleading and civil cover
sheet on all parties of record via the Court’s CM/ECF system and filed summonses accordingly.


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